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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  SPARTANBURG DIVISION

 JANE DOES 1-9,                                             Case No.: 7:20-cv-00947-JD

                        Plaintiffs,

 vs.
                                                          PROPOSED FIFTH AMENDED
 COLLINS MURPHY, WALT GRIFFIN,                                  COMPLAINT
 SHARON HAMMONDS, BRENDA F.
 WATKINS, LIMESTONE UNIVERSITY,
 MG FREESITES, LTD., d/b/a
 PORNHUB.COM, MG FREESITES II
 LTD., MINDGEEK S.A.R.L., MINDGEEK
 USA, INC., MG BILLING LTD., and                            JURY TRIAL DEMANDED
 HAMMY MEDIA LTD. d/b/a
 XHAMSTER.COM, TRAFFICSTARS
 LTD., WISEBITS LTD, XHAMSTER IP
 HOLDINGS LTD, WISEBITS IP LTD

                       Defendants.



        The Plaintiffs, complaining of the Defendants, would respectfully show the Court the

following:

                                        INTRODUCTION

1.      This is a case about the pernicious, deliberate, and willful exploitation and trafficking of

women through the creation and worldwide publication, distribution and monetization of non-

consensual pornographic videos by sophisticated and almost impenetrable enterprises designed

for that purpose; owned, operated, managed and / or controlled by Defendants MINDGEEK

S.A.R.L. and HAMMY MEDIA, LTD., their parents, subsidiaries, affiliates, partners, divisions

and / or associates.
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2.      The Plaintiffs are all young women who fell victim to these criminal enterprises when

Defendant Collins Murphy (“Murphy”) intentionally placed a hidden “spy camera” in a locker

room located within Defendant LIMESTONE COLLEGE, for the purpose of surreptitiously

filming the Plaintiffs and other women in all stages of undress, and then uploading the video

footage to one or more websites controlled by Co-Defendants.

3.      This is also a case about the negligence of Defendant LIMESTONE UNIVERSITY (then

Limestone College) to reasonably investigate Defendant Murphy before hiring him and placing

him in a position where he had access to carry out the secret non-consensual filming of the

Plaintiffs, despite the fact that similar allegations of misconduct had been made against Murphy

prior to his hiring and it was reasonably foreseeable that he would perform such actions.

4.      Plaintiffs bring this action against LIMESTONE for the described negligence and these

Co-Defendants, who financially benefited from, or otherwise participated in a sex trafficking

venture; who engaged in a plan, scheme, conspiracy and course of conduct that invaded the

Plaintiffs rights under the United States Constitution in violation of the Trafficking Victims

Protection Reauthorization Act (“TVPRA”), 18 U.S.C. §§1591, 1595, the Racketeer Influenced

and Corrupt Organization Act, 18 U.S.C. §§ 1962, 1964, and other laws as set forth below.

                                JURISDICTION AND VENUE

5.      The Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C. §1331,

because this action arises under the laws of the United States. Jurisdiction is further appropriate

under 18 U.S.C. §1596, which provides for jurisdiction over any offender, in addition to any

“domestic or extraterritorial jurisdiction otherwise provided by law,” where the offender is

“present in the United States, irrespective of the nationality of the alleged offender.” Subject
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matter jurisdiction is also proper under 28 U.S.C. § 1332 because the matter in controversy

exceeds $75,000.00 exclusive of interest and costs and is between citizens of different states.

6.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial part of

the events or omissions giving rise to the claims asserted in this action occurred in the judicial

district where this action is brought, and the defendants engage in substantial business activities

in this judicial district.

                                               PARTIES

7.       Plaintiff, Jane Doe 1 (hereinafter referred to as “Plaintiff 1”), is and was at all times

mentioned herein, a citizen and resident of Jeffersonville, Clark County, Indiana.

8.       Plaintiff, Jane Doe 2 (hereinafter referred to as “Plaintiff 2”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

9.       Plaintiff, Jane Doe 3 (hereinafter referred to as “Plaintiff 3”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

10.      Plaintiff, Jane Doe 4 (hereinafter referred to as “Plaintiff 4”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

11.      Plaintiff, Jane Doe 5 (hereinafter referred to as “Plaintiff 5”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

12.      Plaintiff, Jane Doe 6 (hereinafter referred to as “Plaintiff 6”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

13.      Plaintiff, Jane Doe 7 (hereinafter referred to as “Plaintiff 7”), is and was at all times

mentioned herein, a citizen and resident of Louisville, Jefferson County, Kentucky.

14.      Plaintiff, Jane Doe 8 (hereinafter referred to as “Plaintiff 8”), is and was at all times

mentioned herein, a citizen and resident of LaGrange, Oldham County, Kentucky.
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15.      Plaintiff, Jane Doe 9 (hereinafter referred to as “Plaintiff 9”), is and was at all times

mentioned herein, a citizen and resident of San Antonio, Bexar County, Texas.

16.      At present, and all times relevant to this action, Defendant LIMESTONE

UNIVERSITY (hereinafter referred as “Limestone”) is a private co-ed liberal arts college

located at 1115 College Drive, Gaffney, South Carolina 29340, and carries out its business by

and through its agents, servants, and/or employees, and is therefore directly and vicariously

liable for the wrongful acts described in this Complaint.

17.      Defendant WALT GRIFFIN is a citizen and resident of Gaffney, South Carolina and

was, at all times relevant to this action, President of Limestone College.

18.      Defendant BRENDA F. WATKINS is a citizen and resident of Gaffney South Carolina

and was, at all times relevant to this action, Director of Human Resources for Limestone College.

19.      Defendant SHARON HAMMONDS is a citizen and resident of Gaffney South Carolina

and was, at all times relevant to this action, Director of Human Resources for Limestone College.

20.      Defendant, COLLINS MURPHY, is a citizen and resident of Rockville, Maryland. At

all times mentioned herein, Defendant, Collins Murphy, was employed by Limestone as its

intramural/summer conference director.

21.      Under the doctrine of respondeat superior, Defendant Limestone was and is responsible

for the actions and conduct of Defendants Griffin, Watkins, Hammonds, and Murphy done while

employed by Limestone as its agents and employees in the course and scope of their

employment, including but not limited to hiring and supervising decisions, and Defendants are

thereby jointly and severally liable to Plaintiffs for their injuries and damages.

22.      Defendant MG FREESITES, LTD., d/b/a Pornhub.com is a Cypress company with

headquarters located at Block 1, Dali Industrial Area, 195-197 Old Road Nicosia-Limassol Dali,
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2540 Cyprus, which conducts business throughout the United States, including within this

District in South Carolina. Upon information and belief, MG FREESITES, LTD is a wholly

owned subsidiary of MINDGEEK S.A.R.L., either directly or through intermediary companies

that are also under the control of MINDGEEK S.A.R.L. Upon information and belief, MG

FREESITES, LTD owns, operates, and/or manages one or several of the websites at issue and is

predominantly under the control of and operated by directors, officers and employees working in

MindGeek’s offices in the United States and Canada, with little business operations being

conducted within the Republic of Cyprus, where MG FREESITES, LTD is incorporated.

23.      Defendant MG FREESITES II LTD, is a foreign entity incorporated under the laws of

the Republic of Cyprus conducting business throughout the United States, including within this

District in South Carolina. Upon information and belief, MG FREESITES II LTD owns,

operates, and/or manages one or several of the websites at issue or otherwise is responsible for

content that is the subject matter of this action. Upon information and belief, MG FREESITES II

LTD is., either directly or through intermediary companies, under the control of MINDGEEK

S.A.R.L.

24.      Defendant MINDGEEK S.A.R.L. is a foreign entity incorporated in Luxembourg

conducting business throughout the United States, including within this District in South

Carolina. Formerly known as ManWin, MINDGEEK S.A.R.L. is the consolidation of two large

pornography companies, Mansef and InterTube. Over the past decade, MINDGEEK S.A.R.L.

acquired competing businesses and now owns and operates over one hundred (100) pornographic

websites, production companies, and brands. MINDGEEK S.A.R.L.’s principal place of business

is Montreal, Canada, with satellite offices in San Diego, Los Angeles, San Francisco, London,

Bucharest (Romania), and Nicosia (Cyprus).
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25.      Defendant MINDGEEK USA, INCORPORATED, is a corporation incorporated in the

State of Delaware conducting business throughout the United States, including within this

District in South Carolina. Upon information and belief, MINDGEEK USA, INCORPORATED

is a wholly owned subsidiary of MINDGEEK S.A.R.L., either directly or through intermediary

companies also under the control of MINDGEEK S.A.R.L.

26.      Defendant MG BILLING LTD is a foreign entity incorporated under the laws of Ireland

conducting business throughout the United States, including within this District in South

Carolina. Upon information and belief, MG BILLING LTD owns, operates, and/or manages the

subscription services for one or several of the pornographic websites under the control of

MINDGEEK S.A.R.L.

27.      Herein, “MindGeek” refers to MindGeek S.A.R.L., MG Freesites, Ltd., MG Freesites II,

Ltd., MindGeek USA, Incorporated, MG Billing LTD, and all of their parents, subsidiaries and

affiliates, including but not limited to the business and website known as PORNHUB.

28.      Over the years, MindGeek’s corporate grouping has included over one hundred

subsidiaries and related companies around the world, including the United States. The complete

details of this complex network of related companies is unknown to the Plaintiffs at this time.

MindGeek S.A.R.L. exercises ultimate control and domination of the finances, policy, and

business practices of the MindGeek entities. MindGeek entities are or were the alter egos of each

other operating as a single business enterprise, commingling its funds and other assets to shelter

and avoid liabilities and in an effort to hide the identity of all its owners and investors. All

MindGeek Defendants are jointly and severally liable in this action as alter egos of the other.

29.      MindGeek and its subsidiaries have utilized the United States judicial system to enforce

their intellectual property, contractual, and other rights relating to the business they
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systematically and routinely conduct within the United States, including their pornographic

websites.

30.      Defendant HAMMY MEDIA, LTD. d/b/a xHamster (hereinafter referred to as

“HAMMY MEDIA” or “xHAMSTER”) is a Cypriot company operating pornographic media

and social networking sites, headquartered in Limassol, Cyprus. and has a US office in Houston

Texas. It is the front for a number of alter-ego and affiliate corporations which all comprise the

xHamster operation.

31.      Defendant Hammy Media LTD has made purposeful electronic contacts throughout the

United States, including within this District of South Carolina.

32.      TRAFFICSTARS LTD is a Cypriot company conducting business throughout the

United States, including within this District in South Carolina. Upon information and belief,

TrafficStars owns, operates, and/or manages the advertising placement and revenue for one or

several of the pornographic websites under the control of Hammy Media.

33.      WISEBITS LTD is a Cypriot company conducting business throughout the United

States, including within this District in South Carolina. Upon information and belief, Wisebits

LTD owns, operates, and/or manages the IT and content monitoring, among other services, for

one or several of the pornographic websites under the control of Hammy Media, including

xHamster.

34.      XHAMSTER IP HOLDINGS LTD. is believed to be a company registered in the

British Virgin Islands with its principal place of business in St. John’s, Antigua and it conducts

business throughout the United States, including within this District in South Carolina. It holds

the XHamster trademark and does business in the name of XHamster. XHamster IP Holdings is

a subsidiary of Defendant Wisebits IP Ltd.
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35.      WISEBITS IP LTD. is a Cypriot company conducting business throughout the United

States, including within this District in South Carolina. Upon information and belief, Wisebits IP

LTD owns, operates, and/or manages the Defendant XHamster IP Holdings Ltd and controls the

use of the XHamster brand.

36.      Herein, “XHAMSTER” includes defendants Hammy Media Ltd, TrafficStars Ltd,

Wisebits Ltd, XHamster IP Holdings Ltd, Wisebits IP Ltd. and all of their parents, subsidiaries

and affiliates, including but not limited to xHamster.com.

                                        BACKGROUND

37.      Defendant MindGeek owns and operates the pornographic website Pornhub. As of 2020

Pornhub was amongst the five most trafficked sites in the world with 42 billion visits per year,

115 million visits per day, and 4.5 million visits per hour. The site boasts 6.8 million videos

uploaded per year that would take a total of 169 years to watch. According to Feras Antoon, the

CEO of Enterprise MindGeek Canada, Pornhub is a leading free, ad-supported, adult content

hosting and streaming website, offering visitors the ability to view content uploaded by verified

users, individual content creators and third-party studios. One study in 2020 concluded that

Pornhub was the website with the third greatest impact on society in the 21st century, after

Facebook and Google.

38.      MindGeek is an international pornography conglomerate that has obtained a near

monopoly on the porn industry. It owns more than 100 websites, production companies and

brands. In addition to Pornhub, its properties include Redtube, Youporn, XTube, Tube8,

Playboy Digital, SpankWire, ExtremeTube, Men.com, My Dirty Hobby, Thumbzilla, PornMD,

Brazzers and GayTube, to name a few. As the New York Times put it, “Mindgeek is a porn titan.
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If it operated in any other industry the Justice Department could be discussing an antitrust case

against it.”

39.      Pornhub’s business model is built as an ad-supported platform. About 50% of Pornhub’s

revenues come from advertising. And the industry is lucrative. Pornhub’s annual revenue is

hundreds of millions of dollars per year. Recent estimates suggest that the online porn industry

as a whole may generate as much as $97 Billion per year. The traffic producing this revenue is

driven by content. In the arms race to be the number one result in the Google search engine for

porn, the defendants know it is a huge advantage to have more content than anyone else and to

have exotic content that is difficult to find elsewhere. In the science of Search Engine

Optimization, content drives traffic and the unrestricted accumulation of content is a critical

factor in determining which website leads in Google search results.

40.      xHamster follows a similar ad revenue model. Founded in 2007, with more than 10

million members, it is one of the four most popular pornography websites on the Internet. As of

July 2020, xHamster was the 20th-most trafficked website in the world.

41.      Hammy Media / xHamster operates as the visible internet front for a tangle of shell

corporations and affiliates designed to conceal their illegal operations and shield them from

liability. This network includes a company called TrafficStars LTD, which is ostensibly the

advertising arm of the company, owned in turn by a Cypriot company called Wisebits LTD. It is

believed that a separate arm of the xHamster enterprise is Wisebits IP Ltd. which also owns a

company in the British Virgin Islands called xHamster IP Holdings, also known as Online Media

Entertainment Holding. Online Media Entertainment Holding owns companies called Technius

LTD and Tecom LTD. These companies, in turn, own two more of the xHamster paid
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pornographic sites, xHamster Live and Faphouse. All of these companies operate in reality as a

single business entity and are alter egos of each other.

42.     Both of these defendants procure a vast amount of their content through third-party

individuals uploading their own pornographic material. At the time of the incidents set forth in

this Complaint, anyone could upload content to Pornhub or xHamster with only an email

address. Users with Pornhub could become “verified” by submitting a photo of applicants

holding a handwritten sign. “Verified” users were eligible to share ad revenue from views of

their content. MindGeek offered several profit sharing programs with uploaders including, but

not limited to, the Modelhub program, and the Content Partner Program. xHamster offered a

similar opportunity for uploaders to share ad revenue, without meaningful safeguards to ensure

that the content was legal.

43.     The defendants’ success is built, in large part, on the deliberate trafficking in illegal

content. The defendants’ business model succeeded in creating a bustling marketplace for child

pornography, rape videos, trafficked videos, and every other form of nonconsensual content, and

they knew it. They intentionally elected to not employ any effective monitoring of what was

being uploaded, or process for removing content that was exploitive and illegal. To the contrary,

in the rare instance where the defendants were forced to remove content from their platform,

whistleblowers have confirmed that they subsequently would reupload the content to their

platform.

44.     In testimony before the Canadian Parliament in 2001, a lawyer currently prosecuting a

case against Pornhub gave confirmed examples of the content and conduct regularly found on the

site:

        A girl was raped at 15, and a video was posted on Pornhub and distributed through a
        community. Pornhub refused to remove the video for three weeks, then said it had been
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        removed when in fact it wasn't removed for another two months, with several hundred
        thousand additional views, downloads and distribution in that community.
        A child younger than 10 was sold into trafficking and was the subject of child
        pornography for almost 10 years. Those videos were distributed on various MindGeek
        platforms where they could remain at least until later last year.
        A 15-year-old was secretly filmed via computer hack and then extorted to do other
        videos. Those videos were posted on Pornhub with her personal information, distributed
        widely, including to her community and to her family, and subjected her to long-term
        abuse and stalking. When she raised the issue at Pornhub, it refused to search for the
        videos or take any other proactive steps to prevent their distribution. The trauma led her
        to consider suicide.
        A woman was raped on videotape and it was distributed on Pornhub, including through
        her community.
These are only a few among thousands of examples of the egregious illegal content routinely

trafficked on the site.

45.     Like Pornhub the other porn tube sites including xHamster are set up for mass sexual

exploitation and trafficking, allowing any user with a cell phone camera to anonymously, in

under 10 minutes, upload filmed sex acts with only an email address. No government issued ID

is required to prove these are not trafficked women and children and no consent form is required

to attempt to demonstrate that these are not secretly recorded videos like those of the Plaintiffs.

In fact, Pornhub even has designed its own VPN so that users can access and upload to the site

without their IP addresses being revealed. They also launched a dark web mirror site that enables

pedo-criminals to view child rape with added anonymity.

46.     Porn tube sites are the primary way that filmed sex acts are distributed to the world in the

digital age, yet there is very little accountability or oversight with regard to the origins of the

videos. That is intentional on the part of these websites, because the unlimited ability to upload

content by any user in the world is the business model that generates the most profit. For

Pornhub and xHamster, content is king. The more content that is uploaded to these porn tube
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sites, the more traffic is driven to the site, and the more profit is generated from advertising,

premium memberships and the sale of user data.

47.    In early 2020 employee whistleblowers revealed that Pornhub employed under ten

moderators per shift to review content on the site. Remember there are seven million videos and

eleven million comments uploaded per year to Pornhub alone. Many of those comments

emphatically indicate that the videos contain child rape, trafficking, hidden cameras and assault

but are ignored for months and years. This lack of moderation is part of the porn tube business

model because limiting content, even if illegal, limits traffic, and thus limits profits.

48.    Until recently, xHamster monitored its unpaid content through the use of volunteers,

including self-proclaimed porn addicts. These volunteers, called “the Reviewers Club” make

decisions about the enormous amount of photographic content that is uploaded on a daily basis.

xHamster administrators encouraged these reviewers to “waive through” any content unless they

are 100 percent sure that it violates xHamster’s often questionable rules for exclusion. This

includes content that appears to have been uploaded without the user’s consent.

49.    In contrast, defendants do carefully monitor the demographics of their user base and the

kinds of subject matter that draws the most traffic. They then curate “categories” and “tags” to

classify content and create sophisticated algorithms to direct traffic to lucrative subject matter

based on user preferences. One of the most popular categories is “amateur”, which has been

reported to tag 30% of all videos posted. Catering to the individual users’ specific prurient

interests means more traffic for the site and more profit for the defendants. Defendants’ business

model is therefore built to encourage “amateur” video, including nonconsensual surreptitious

filming.
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50.       Until December 2020, most of the videos and images on defendants’ sites, including

those for Jane Does 1-9, were uploaded with no attempt to verify the identification, age, or

consent of the persons uploading it or featured in it.

51.       Although Pornhub and xHamster are tube sites, they do not rely exclusively on user-

generated videos and images, but are also content producers. Pornhub includes videos and

images from a number of affiliated Content Partners, including Brazzers, Fake Taxi, Kink.com,

and until recently, GirlsDoPorn, whose leaders now face sex trafficking charges for coercing

women into producing pornography and earning money from doing it. Content Partners share in

ad revenues. Pornhub also shares ad revenue with members of its “Modelhub” program, which

is made up of ‘verified’ users.

52.       Pornhub admits that they create at least some videos and images on their website. At the

bottom of most pages, Pornhub includes this statement: “The Pornhub team is always updating

and adding more porn videos every day.” In 2016, MindGeek boasted that it was producing

“over 400 exclusive scenes every month.”

53.       In cases where the defendants are not actually creating videos and images for content,

they are developing, designing, and controlling videos, images, text, tags, advertising, and other

aspects of the sites in some fashion, both visually and through unseen data manipulation.

Defendants’ business model is predicated on maximizing views and traffic to their sites. They

accomplish this by tightly controlling through editing, creating, and modifying titles, tags,

keywords, storylines, themes, and scenes of every single video on the site, despite its source

54.       At the time of the incidents forming the basis of this Complaint, the defendants did not

require uploaders or users to verify the age or consent of performers in videos at the time of

upload.
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55.    MindGeek creates and suggests tags for users. MindGeek requires users to choose a

minimum number of tags from provided options when a new video is uploaded and when users

choose certain tags MindGeek suggests related tags to increase traffic to the videos. MindGeek

also ‘coaches’ contributors on the desired content.

56.    Keywords and tags are essential for search engine optimization which drives users

Googling pornographic content to defendants’ websites. Defendants’ business model is centered

on designing, modifying, developing, and controlling content to maximize search engine

optimization. MindGeek’s website describes itself as “A leader in IT, Web Development and

SEO.” MindGeek boasts, “[w]ith over 100 million daily visitors to some of the world’s largest

trafficked websites, we’re uncovering trends and user habits overnight that takes others months

to gather.” MindGeek has a “Search Engine Marketing” team dedicated to “develop[ing]

successful strategies to ensure top-ranking in search engine traffic.”

57.    MindGeek ensures uploaders use the keywords, tags, and titles that increase SEO, and

profits, by collecting and actively placing data regarding these in multiple places on their

websites, through blogs to uploaders, the instructions and requirements for Modelhub members,

verified users, and Content Partners, as well as the mandate to MindGeek formatters, those in

charge of reviewing and editing content, to add tags to videos and change titles to increase

viewing.

58.    MindGeek even penalizes those who use titles, tags, or categories incorrectly, threatening

a “loss of earnings.” Because MindGeek controls the flow of money to Modelhub members and

Content Partners, they can force compliance with content creation according to their specific

parameters.
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59.    Data regarding search terms demonstrates that the keywords “teen” and “amateur” are

consistently the top search terms in North America. Both of these keywords are associated with

victims of nonconsensual sexual activity or non-consensually shared content and the defendants

know this.

60.    The defendants cater to fetishes and incorporate and highlight elements of the videos on

their websites that data suggests are essential to success, including illegal elements such as rape,

child sexual abuse, and other non-consensual activity.

61.    In 2020, Pornhub was continuing to promote the search term “hidden camera” in its home

page “trending searches” category:




62.    MindGeek’s websites also included a download button to allow for the transfer of images

and videos, including child sexual abuse material, allowing an undisclosed number of child

pornographers, sex traffickers, and pedophiles permanent access to and control over the material.

In this way, MindGeek will distribute content -- including child pornography – to anyone.
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63.    MindGeek will also automatically distribute content uploaded to Pornhub to other

MindGeek sites to increase profits. In this way, MindGeek actually originates this content on

different platforms.




64.    The defendants knew or should have known that they were profit sharing with sex

traffickers on their sites as evidenced by the thousands upon thousands of videos in their libraries

titled or tagged with references to “spy cam”, “hidden camera”, “young”, “teen”, “secret

filming”, “underage”, “rape” and numerous other lurid identifiers.

65.    The defendants embraced a business model in which they not only allowed users to

populate their platform with virtually any type of pornographic content, they would carefully

analyze those users and others who were drawn to such content to induce them to load more,

watch more, and profit more from their platform. In the course of doing so, these defendants

developed a detailed understanding of all the content on their platform, including non-consensual

content, and nonetheless elected to monetize and exploit the illegal content.

66.    In December 2020, the New York Times published a scathing expose that brought

significant international attention to the issue of child trafficking and exploitation on Pornhub.

Shortly after the publication, Visa, Mastercard, and Discover confirmed the presence of illegal

content on the Pornhub site and stopped allowing payments to be processed on Pornhub.
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67.     Within 24 hours, Pornhub deleted 80% of its content, over 10 million videos, because it

could not verify the videos did not contain child abuse, assault, and sex trafficking. This event

also prompted Pornhub to overhaul its business model to impose facially stricter requirements

for uploaders and eliminated the “download” button from its videos.

68.     The ‘deleted’ videos continue to exist. MindGeek and xHamster maintain servers that

archive the content and, in many cases, the individual videos have already been uploaded to

other platforms.

69.     Currently, Pornhub and xHamster still do not verify the age and consent of every

individual in every video they profit from, thus enabling trafficking to continue to proliferate on

the sites.

70.     Both Pornhub and xHamster “push” uploaded content to other sites controlled by or in

affiliation with those respective Defendants, increasing exposure and revenue; and making it

difficult to track and eliminate illegal content once it comes under the control of the Defendants.

                                              FACTS

71.     All of the allegations previously set forth are incorporated herein by reference.

72.     In August 2012 Limestone College hired Collins Murphy as its intramural/summer

conference director.

73.     On October 5, 2012, the Bellarmine University Knights traveled to Gaffney, South

Carolina to face the Limestone College Saints in women’s field hockey. Plaintiffs were members

of the Bellarmine Knights field hockey team.

74.     Upon arrival, Limestone agents directed Plaintiffs to a men’s locker room which was

designated for their use both before and after the game.
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75.    While in the subject locker room, Plaintiffs showered and changed clothes such that they

were in a state of nudity for periods of time.

76.    While in the subject locker room, Plaintiffs had a reasonable expectation of privacy and

implicit assurance from Defendant Limestone that they were in a place secure from voyeuristic

intrusion and they relied upon that assurance in appearing in a state of nudity.

77.    Defendant Murphy, secretly placed a video camera in the subject locker room prior to

Plaintiffs’ arrival on campus and recorded the Plaintiffs, without their knowledge or consent,

while they were in a state of nudity.

78.    As intramural/summer conference director, Defendant Murphy, had knowledge of

sporting events on campus and had access to athletic facilities, such as the subject locker room,

with Limestone’s knowledge and consent. Without the consent and facilitation by Limestone,

Murphy would not have that access.

79.    Defendant Murphy, secretly recorded multiple women, including women who are not

Plaintiffs in this action, changing clothes and taking showers in locker rooms between September

2012 and October 2013.

80.    The videos recorded by Murphy were fraudulently obtained through the use of intentional

deception for personal gain.

81.    Defendant Murphy’s employment with Limestone ceased in October 2014.

82.    At some point prior to October, 2019, the recordings of the Plaintiffs were uploaded to

defendant Pornhub and defendant xHamster and then disseminated to countless other

pornographic websites, stripping the Plaintiffs of their innocence and subjecting them to painful

humiliation and embarrassment.
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83.    On information and belief, Defendant Murphy and / or other third parties (e.g.

“Lordfauger18”) participated in uploading the videos with the expectation and understanding

that they would receive valuable consideration from MindGeek and/or xHamster.

84.    On October 10, 2019, the Gaffney Police Department opened an investigation into the

illegal video recordings which took place on Limestone College’s campus. Upon information

and belief, the investigation remains ongoing.

85.    On October 18, 2019, the Plaintiffs were first made aware that they were secretly

videotaped while showering and changing their clothes in the Limestone College locker room;

and that the recording was posted to several pornographic websites.

86.    Upon information and belief, the nude videos of Plaintiffs and other female student

athletes obtained by the use of the hidden camera in the Limestone locker room facility remains

stored in the archives of defendants MindGeek and / or xHamster, and continues to be potentially

accessible for viewing through other pornographic websites.

87.    The videos were posted through user accounts maintained by Murphy or other established

members of both Pornhub and xHamster who obtained the videos directly or indirectly from

Murphy.

88.    At least one such Pornhub member, known as Lordfauger18, is part of the Pornhub

Modelhub program and is paid by MindGeek a share of ad revenues based on traffic to the

member’s uploaded videos.

89.    At least one or more individuals or entities received monetary payment from MindGeek

and / or xHamster for viewing traffic to the nonconsensual videos of the Plaintiffs.

90.    Defendants Murphy, MindGeek, xHamster and / or others working in concert with these

defendants derived profit from the publication of the videos, directly or indirectly through the
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sharing of revenues generated by the placement of advertisements with the videos by MindGeek

and / or xHamster.

91.    The defendants MindGeek and / or xHamster knew or should have known that the videos

depicted nonconsensual pornographic material, and they failed to adequately monitor the content

of their uploads and, in fact, actively or tacitly encouraged the uploading of such content, all as

described above, for the purpose of conducting the criminal enterprise of engaging in the

trafficking of such material.

92.    Defendants MindGeek and xHamster actively participated in the creation of the end

product videos through, among other things, coaching and directing uploading users on desired

content, creation and manipulation of the metadata associated with the videos, including the

production of ‘thumbnails’ and the addition of other digital content that allowed the videos to be

directed to interested viewers, and shared revenue with other creators or suppliers of the solicited

content.

93.    Defendants MindGeek and/or xHamster republished or permitted and encouraged the

republishing of the videos either directly or through the facilitation of downloading the videos by

any interested user.

94.    Defendant Limestone, through its agents and employee defendants Griffin, Watkins and

Hammonds, failed to meet their duty owed to its students and those visiting when they failed to

properly investigate Defendant Murphy during the hiring process and/or allowed Murphy

unfettered access to locker rooms in disregard of the likelihood that Murphy would use that

access to engage in illegal conduct to the injury of students or student guests like the Plaintiffs.

95.    As a direct and proximate result of the secret and unauthorized videotaping, and the

creation, dissemination and publishing of the videos to other individuals and the general public
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on Pornhub, xHamster and other pornographic websites, Plaintiffs have sustained, and will

continue to sustain, injuries and damages, including but not limited to anxiety, humiliation,

embarrassment, serious mental and emotional distress and mental pain and suffering.

  FIRST CAUSE OF ACTION AGAINST DEFENDANTS MURPHY, MINDGEEK and
                             XHAMSTER
         (VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION
          REAUTHORIZATION ACT (“TVPRA”), 18 U.S.C. §§1591, 1595)

96.    Plaintiffs reallege and incorporate by reference all prior and subsequent paragraphs as if

fully incorporated herein.

97.    In 2000, Congress passed the Trafficking Victims Protection Act(“TVPA”). The TVPA

was the first comprehensive law in the United States to penalize the full range of human

trafficking offenses, including sex trafficking of children under the age of 18 or sex trafficking

by force, fraud, or coercion.

98.    Congress reauthorized the TVPA in 2003. In doing so, the Trafficking Victims Protection

Reauthorization Act (“TVPRA”) created a civil cause of action, codified at 18 U.S.C. § 1595.

99.    The TVPRA permits a party to bring a civil claim against perpetrators and against

persons or entities who, although not the direct perpetrator, knowingly benefits from

participating in what they should know was a sex trafficking venture.

100.   Under 18 U.S.C. § 1591(e)(3), the term “commercial sex act” means any sex act, on

account of which anything of value is given to or received by any person. 18 U.S.C. §

1591(e)(3).

101.   Section 1591(a)(1) and (a)(2) make it a crime to benefit, financially or by receiving

anything of value, from participation in a venture which knowingly recruits, entices, harbors,

transports, provides, obtains, maintains, patronizes, or solicits by any means a person for
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commercial sex, where the person is under 18, or induced by force, fraud, or coercion. 18 U.S.C.

§ 1591(a)(1).

102.    In 2018, Congress passed a bill known as Fight Online Sex Trafficking Act (“FOSTA”)

and Stop Enabling Sex Traffickers Act (“SESTA”) (collectively, “FOSTA/SESTA”) to amend

47 U.S.C. § 230, the Communications Decency Act, to clarify that it was never intended to

provide immunity for websites facilitating illegal commercial sex acts with children or adult

victims of human trafficking on websites. The FOSTA/SESTA amendment to Section 230 is

retroactive, applying “regardless of whether the conduct alleged occurred, or is alleged to have

occurred, before, on, or after … enactment.”

103.    Plaintiffs have sufficiently pled that they were victims of sex trafficking within the

meaning of 18 U.S.C. § 1591 and are therefore entitled to bring a civil action under 18 U.S.C. §

1595.

104.    Defendants knowingly used the instrumentalities and channels of interstate and foreign

commerce to facilitate violations of 18 U.S.C. §§ 1591(a)(1) and 1595(a), occurring within the

territorial jurisdiction of the United States.

105.    Defendants’ conduct was in, or affected, interstate and/or foreign commerce.

106.    Defendants knowingly benefited from participation in what they knew or should have

known was a sex trafficking venture, in violation of 18 U.S.C. §§ 1591(a)(2) and 1595(a).

107.    Defendants monetize content on their platforms through user-focused products and

services, such as advertisements and data collection as well as share profits with and make direct

payments to traffickers with profits gained from the use of illegally trafficked content.

108.    Defendants knowingly benefited from, and/or received something of value for their

participation in the venture, in which Defendants knew, should have known, or were in reckless
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disregard of the fact that the Plaintiffs and others were depicted and presented for pornographic

purposes constituting commercial sex acts without their consent.

109.   Defendants knowingly benefited from, and/or received something of value for their

participation in the venture, in which Defendants knew, should have known, or were in reckless

disregard of the fact that the videos of Plaintiffs and others were obtained without knowledge or

consent.

110.   Defendants’ acts, omissions, and commissions, taken separately and/or together, outlined

above, constitute a violation of 18 U.S.C. §1595.

111.   Defendants’ conduct has caused Plaintiffs serious harm including, without limitation,

physical, psychological, financial, and reputational harm.


SECOND CAUSE OF ACTION AGAINST THE DEFENDANTS MURPHY, MINDGEEK
                          and xHAMSTER
 (CONDUCTING THE AFFAIRS OF AN ENTERPRISE THROUGH A PATTERN OF
        RACKETEERING ACTIVITY - 18 U.S.C. § 1962(c) and 1964(c))

112.   Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

                                          THE ENTERPRISE

113.   From on or about 2014, continuing through the filing of this Complaint, each Defendant

was a “person” within the meaning of 18 U.S.C. § 1961(3).

114.   From on or about 2014, continuing through the filing of this Complaint, defendants, and

others known and unknown, including agents and employees of the defendants, formed an

associated-in-fact enterprise, or enterprises, within the meaning of 18 U.S.C. §§ 1961(4).

115.   From on or about 2014, continuing through the filing of this Complaint, the Enterprise(s)

formed by these parties engaged in, and the activities of which affected, interstate and foreign

commerce.
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116.   From on or about 2014, continuing through the filing of this Complaint, defendants, and

each of them individually, together with others known and unknown to Plaintiffs, acting in

concert, were each employed or were employed by and associated with the Enterprise(s) and

have in the past, continuously and currently continue to, in an ongoing manner, knowingly and

intentionally conduct the activities of the enterprise(s), directly or indirectly, through a continued

pattern of racketeering activity consisting of numerous acts of racketeering in the State of South

Carolina and elsewhere. Their actions include multiple, related acts in violation of the following

provisions of the United States Code, including but not limited to: Sex Trafficking 18 U.S.C.

§1591; Sexual exploitation of children 18 U.S.C. §1552; Record Keeping for sexually explicit

material 18 U.S.C. §2257; Wire Fraud, 18 U.S.C. § 1343;

117.   Defendants formed the Enterprise(s) to execute and attempt to execute schemes to engage

in the creation and dissemination of illegally obtained obscene footage of nonconsenting women.

Defendants knowingly promoted, engaged in, created and published the illegal filming of women

in all stages of undress for the specific purpose of exploiting their innocence for financial gain.

118.   It was the purpose of the Enterprise(s) to deceive the public, government, and its users

that MindGeek and xHamster’s Wisebits Ltd. were leading technology companies providing

cutting edge SEO and online and marketing data services. The Enterprise(s) expended substantial

resources and effort ensuring that its tubesites had all the indicia of legitimate internet media

websites, including a polished appearance, comprehensive terms of service, policies, and

customer service functions, and multiple layers of interaction. But these public images were a

fraudulent front for a platform through which the Enterprise(s) ran its rackets and schemes.

119.   In furtherance of its fraudulent scheme, MindGeek and / or xHamster used the mails and

wires to, by way of example only, (a) pay and communicate with its network of sex traffickers in
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Eastern Europe and Asia, (b) upload and reupload videos that it knew contained child

pornography, sex trafficking materials, sexual assault and exploitation materials and other illegal

content like nonconsensual videos, and (c) push this content to all of its partner sites.

120.    Moreover, as set forth herein, in furtherance of this scheme, the Enterprise(s)

intentionally disregarded adequate age and consent verification controls. To the contrary, the

Enterprise(s) intentionally solicited sex trafficked materials and other illegal content; directed

sex traffickers on how to post their content to maximize the traffic and avoid removal of their

videos from their tubesites; monitored and modified effective content; and reuploaded content to

other affiliate sites.

121.    From on or about 2014, the Enterprise(s) has existed separate and apart from defendants’

racketeering acts and their conspiracy to commit such acts. The Enterprise has an ascertainable

structure and purpose beyond the scope and commission of defendants’ predicate acts.

                            THE PATTERN OF RACKETEERING

122.    The Enterprise(s) as described herein is at all relevant times a continuing enterprise

because it continues to execute schemes to create and disseminate illegally obtained obscene

footage of nonconsenting woman for the purpose of generating revenue. The conduct of the

racketeering enterprise has continued from its inception through the date of this Complaint and

threatens to continue into the future, by virtue of repeated patterns of behavior by its members.

123.    The pattern of racketeering activity, as defined by 18 U.S.C. §§ 1961(1) and (5), presents

both a history of criminal conduct and distinct threat of continuing criminal activity. Such

activity consists of multiple acts of racketeering by each defendant herein, is interrelated, not

isolated and is perpetrated for the same or similar purposes by the same persons. Such activity

extends over a substantial period of time, before, up to and beyond the date of this Complaint.
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Such activities occurred after the effective date of 18 U.S.C. §§ 1961 et seq., and the last such act

occurred within 10 years after the commission of a prior act of racketeering activity.

124.    Each defendant had a role in the racketeering activity that was distinct from the

undertaking of those acting on its behalf. Each defendant also attempted to benefit, and did

benefit, from their activity as alleged herein, and thus were not passive victims of racketeering

activity, but active perpetrators.

125.    Defendants have continued the pattern of exploiting women by monetizing surreptitiously

filmed content under the guise of legitimate consensual adult entertainment.

126.    Defendant Pornhub and Defendant xHamster continue to work with and reward third-

party content providers who develop a large internet following for the purpose of making money

and sharing spy camera footage of women without their consent.

127.    Defendants maintained a presence worldwide to even include the illegal videos being

disseminated in Japan and South America.

128.    Defendants advertise their great successes to continue the pattern and practice of the

illegal recording of women to then share under the guise of a specific genre.

129.    This lewd, illegal, sexual content increases the viewership to their respective platforms

which increases their own financial gain.

130.    Defendants continue to conspire to create and disseminate surreptitiously filmed videos

of women and pay members of the Enterprise(s) to further this scheme.

131.    As a direct and proximate result of the defendants’ violations of 18 U.S.C. §1962(c),

including injury by reason of the predicate acts constituting the pattern of racketeering activity.

132.    As a result of the violations of 18 U.S.C. § 1962(c) by the defendants, Plaintiffs suffered

substantial damages in an amount to be proved at trial.
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133.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover treble its general and

special compensatory damages, plus interest, costs and attorneys’ fees, incurred by reason of

defendants’ violations of 18 U.S.C. § 1962(c).

              THIRD CAUSE OF ACTION AGAINST DEFENDANT MURPHY
                   (Invasion of Privacy – Wrongful Intrusion upon Private Affairs)

134.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

135.    Defendant Murphy, in his capacity as an employee and agent of Defendant Limestone,

was given access to and/or control over the locker room facilities at Limestone.

136.    Utilizing that access, Defendant Murphy placed a hidden video camera in Defendant

Limestone’s locker room and captured video and images of the Plaintiffs their teammates, and

other student athletes from around the nation, all while they were fully nude, or in various stages

of undress.

137.    The secret and unauthorized videotaping by Defendant Murphy of the Plaintiffs and the

other student athletes constitutes an intrusion in to the private affairs of the Plaintiffs and the

other women.

138.    The intrusion was and is highly offensive, substantial and unreasonable to a reasonable

person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

139.    The secret and unauthorized videotaping by Defendant Murphy was intentional.

140.    The acts of Defendants, collectively, led to the wrongful intrusion of the Plaintiffs’

private affairs.

141.    As a direct and proximate result of the conduct by Defendants, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.
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142.    The conduct by Defendants was a willful and wanton violation of the privacy rights of

the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an award of

punitive damages.

               FOURTH CAUSE OF ACTION AGAINST DEFENDANT MURPHY
                (Invasion of Privacy – Wrongful Publicizing of Private Affairs)

143.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

144.    The conduct of Defendant Murphy in secretly videotaping the Plaintiffs and the other

student athletes while totally nude, or in various stages of undress, was done intentionally, and

without consent, to Defendant’s benefit.

145.     The secret and unauthorized videotaping by Murphy of the Plaintiffs and the other

student athletes constitutes an intrusion in to the private affairs of the Plaintiffs and the other

women.

146.    The intrusion was and is highly offensive, substantial and unreasonable to a reasonable

person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

147.    The Plaintiffs have an enforceable right to their identities/personas.

148.    The Defendant Murphy’s use of Plaintiffs’ identities/personas without permission in this

manner allows for Defendant to be advantaged by the appropriation and publication of their

private affairs.

149.    As a direct and proximate result of the conduct by Defendant Murphy, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.
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150.    The conduct by Defendant Murphy was a willful and wanton violation of the privacy

rights of the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an

award of punitive damages.

              FIFTH CAUSE OF ACTION AGAINST DEFENDANT MURPHY
                (Invasion of Privacy – Wrongful Appropriation of Personality)

151.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

152.    The conduct of Defendant Murphy in secretly videotaping the Plaintiffs and the other

student athletes while totally nude, or in various stages of undress, was done intentionally, and

without consent, to Defendant’s benefit.

153.    The secret and unauthorized videotaping by Defendant Murphy of the Plaintiffs and the

other student athletes constitutes an intrusion in to the private affairs of the Plaintiffs and the

other women.

154.    The intrusion was and is highly offensive, substantial and unreasonable to a reasonable

person such that it constitutes a blatant and shocking disregard of Plaintiffs’ rights.

155.    The Plaintiffs have an enforceable right to their identities/personas.

156.    The Defendant Murphy’s use of Plaintiffs’ identities/personas without permission in this

manner allows for Defendant to be advantaged by the appropriation.

157.    As a direct and proximate result of the conduct by Defendant Murphy, the Plaintiffs have

sustained the injuries and damages referenced above, including serious mental and emotional

injuries and distress.

158.    The conduct by Defendant Murphy was a willful and wanton violation of the privacy

rights of the Plaintiffs and the other student athletes, such that the Plaintiffs are entitled to an

award of punitive damages.
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             SIXTH CAUSE OF ACTION AGAINST DEFENDANT MURPHY
                     (Intentional Infliction of Emotional Distress)

159.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

160.   The conduct of Defendant Murphy in secretly videotaping the Plaintiffs and the other

student athletes while totally nude, or in various stages of undress, was done intentionally to

inflict severe emotional distress on the Plaintiffs and/or Defendant knew that such distress would

likely result from such conduct.

161.   Defendant Murphy’s conduct was so extreme and outrageous that it exceeded all possible

bounds of decency and was furthermore atrocious and utterly intolerable in a civilized

community.

162.   As a direct and proximate result of Murphy’s wrongful conduct, the Plaintiffs have

suffered, and continue to suffer, severe emotional distress.

163.    The emotional distress caused by Defendant’s wrongful conduct was, and is, so severe

such that no reasonable person could be expected to endure it.

164.   As a direct and proximate result of Defendant’s wrongful and unlawful conduct, the

Plaintiffs have sustained the injuries and damages referenced above, including serious mental

and emotional injuries and distress.

165.   The wrongful conduct by Defendant was willful, wanton and undertaken in reckless

disregard for the privacy rights of the Plaintiffs and the other student athletes, such that the

Plaintiffs are entitled to an award of punitive damages.
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  SEVENTH CAUSE OF ACTION AGAINST DEFENDANTS LIMESTONE, GRIFFIN
                          and HAMMONDS
                          (Negligent Hiring)

166.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

167.    Prior to being hired by Defendant Limestone, allegations of misconduct were made

against Defendant Murphy.

168.    The existence of these allegations gave notice to Defendant Limestone that there may be

a potential undue risk presented to students in hiring Defendant Murphy.

169.    The risk of Defendant Murphy could have been discovered through a reasonable

investigation.

170.    Defendants Griffin (as President of Limestone) and Hammonds (as Director of Human

Resources) were employed by Limestone in positions with responsibility for approving and

hiring employees such as Murphy.

171.    Defendants Griffin and Hammonds, individually and in their capacity as employees of

Limestone, had a duty to use reasonable care and diligence for the safety and protection of

students and visiting athletes like the Plaintiffs in hiring Defendant Murphy.

172.    Defendants Griffin and Hammonds breached their duty by either failing to conduct a

reasonable investigation into Defendant Murphy prior to hiring him, or by hiring Defendant

Murphy despite being on notice that he presented a foreseeable undue risk to female students.

173.    This negligent hiring of Defendant Murphy by Defendants was the direct and proximate

cause of the Plaintiffs’ injuries.
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   EIGHTH CAUSE OF ACTION AGAINST DEFENDANTS LIMESTONE, GRIFFIN,
                      HAMMONDS and WATKINS
                         (Negligent Supervision)

174.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

175.    Defendants Limestone, Griffin, Watkins, and Hammonds each had a duty of care to

supervise Limestone employees who had access to areas in which an individual’s privacy could

be violated.

176.    Defendants breached this duty by its failure to adequately supervise Defendant Murphy

who had access to the women’s locker rooms and other facilities on campus.

177.    Defendants had the ability and duty to control or supervise Murphy’s conduct while he

was on Limestone property.

178.    Defendant Limestone knew or should have known that providing Murphy access to

women’s locker rooms presented a foreseeable risk of harm to female students and visitors like

the Plaintiffs.

179.    Defendant Limestone’s failure to supervise Defendant Murphy enabled the placement of

hidden cameras used to videotape the Plaintiffs while nude or in the stages of undress.

180.    Thus, the unfettered and unsupervised access to locker room facilities by Defendant

Murphy was the result of Defendant Limestone’s negligent supervision and is the direct and

proximate cause of the Plaintiffs’ injuries.

NINTH CAUSE OF ACTION AGAINST DEFENDANTS MINDGEEK AND xHAMSTER
                        (Negligent Monitoring)

181.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.
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182.   Defendant MindGeek and Defendant xHamster both operate and maintain pornographic

websites.

183.   In maintaining such websites, Defendants were or should have been aware that content

present on their respective websites was obtained illegally or contained illegal images. They

were aware that illegal content was rampant on their respective sites and aware that such content

was enormously profitable.

184.   Defendant MindGeek and Defendant xHamster had a duty to viewers and users of their

websites, as well as to the individuals depicted, to properly monitor their content for illegal and

nonconsensual material.

185.   Defendant Pornhub and Defendant xHamster breached this duty when they failed to take

reasonable steps to monitor the content present on their websites, as described in this Complaint.

186.   This breach in failing to reasonably monitor content on their websites in conjunction with

their business models and revenue sharing schemes, resulted in, and in fact encouraged, the

presence of illegally filmed pornographic content being present on their respective websites.

187.   This failure to reasonably monitor was the direct and proximate cause of the injuries

suffered by the Plaintiffs.

       TENTH CAUSE OF ACTION AGAINST DEFENDANTS MINDGEEK AND
                              xHAMSTER
                              (False Light)

188.   Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

189.   Defendant MindGeek and Defendant xHamster both operate and maintain pornographic

websites.
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190.    Both Defendants websites hosted videos of the Plaintiffs which exposed them in the

various stages of undress and revealed their nude presence to numerous viewers under the guise

of a “spy cam” or “hidden cam” porn film.

191.    These surreptitiously recorded videos falsely portray the Plaintiffs as

exhibitionists/sexual deviants/pornstars, which the Plaintiffs are not.

192.    These videos of the Plaintiffs are highly offensive and embarrassing and has resulted in

permanent mental anguish in the Plaintiffs.

193.    The Defendants took no steps in verifying whether the videos were filmed with the

consent of the girls, thus shared these videos with a reckless and wanton disregard for their

offensiveness.

194.    This reckless and wanton disregard depicted the Plaintiffs in a false light and is the direct

and proximate cause of their injuries.

       ELEVENTH CAUSE OF ACTION AGAINST THE DEFENDANTS MURPHY,
                       MINDGEEK and xHAMSTER
                            (Civil Conspiracy)

195.    Plaintiffs incorporate by reference and reasserts all previous allegations contained in this

Complaint as if fully set forth herein.

196.    The Defendants conspired for the purpose of creating and trafficking sexually lewd

content which directly invaded the Plaintiffs’ rights to privacy guaranteed by the United States

Constitution. More particularly, the Plaintiffs have been harmed as a direct and proximate result.

197.    During period alleged in this Complaint, defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly engaged in

acts, transactions, practices and courses of business which resulted in the surreptitious and illegal

filming of the Plaintiffs; the publication, republication and dissemination of the resulting videos;
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and the monetization of illegally obtained content. Such scheme was intended to, and, throughout

timeframe alleged in this Complaint, did create content that was published on the Defendant

MindGeek’s Pornhub website, the xHamster website, and numerous other websites which

exposed Plaintiffs to viewers on the internet for profit.

198.   As a direct and proximate result of the improper actions of the Defendants, Plaintiffs

have been damaged in actual, consequential and punitive damages.

                                    PRAYERS FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against each of the Defendants Jointly and

Severally:

       A.      for actual and consequential damages, including damages for emotional distress,

               pain and suffering, in an amount to be determined at trial;

       B.      for punitive damages;

       C.      special damages in an amount to be determined at trial;

       D.      attorney’s fees

       E.      treble damages

       C.      such other and further relief as this Court deems just and proper.

                                       Respectfully submitted,


                                               BELL LEGAL GROUP, LLC

                                               s/J. Edward Bell, III
                                               J. Edward Bell, III (1280)
                                               Joshua M. W. Salley (13214)
                                               BELL LEGAL GROUP, LLC
                                               219 North Ridge Street
                                               Georgetown, SC 29440
                                               TEL.: (843) 546-2408
                                               FAX: (8430 546-9604
                                               ebell@edbelllaw.com
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                                    DOLT, THOMPSON, SHEPHERD &
                                    CONWAY, PSC

                                    Tyler S. Thompson (admitted Pro Hac Vice)
                                    Liz J. Shepherd (admitted Pro Hac Vice)
                                    Jordan A. Stanton (admitted Pro Hac Vice)
                                    DOLT, THOMPSON, SHEPHERD & CONWAY,
                                    PSC
                                    13800 Lake Point Circle
                                    Louisville, KY 40223
                                    Telephone: (502) 244-7772
                                    tthompson@kytrial.com
                                    lshepherd@kytrial.com
                                    jstanton@kytrial.com

                                    ATTORNEYS FOR PLAINTIFF

Georgetown, SC
November 8, 2021
